                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                               No. 16-CR-1011-LRR
 vs.                                                 ORDER REGARDING
                                                  MAGISTRATE’S REPORT AND
 LANDON SHANE NATHANSON-                             RECOMMENDATION
 LOVE,                                            CONCERNING DEFENDANT’S
                                                        GUILTY PLEA
                Defendant.
                                 ____________________

                       I. INTRODUCTION AND BACKGROUND
        On March 22, 2016, a four-count Superseding Indictment was filed against
Defendant, Landon Shane Nathanson-Love. On April 25, 2016, Defendant appeared
before United States Chief Magistrate Judge Jon S. Scoles and entered a plea of guilty to
Count 1 of the Superseding Indictment. On April 25, 2016, Judge Scoles filed a Report
and Recommendation in which he recommended that the court accept Defendant’s guilty
plea.   On April 25, 2016, Defendant filed a Waiver of Objections to Report and
Recommendation. The court, therefore, undertakes the necessary review of Judge Scoles’s
recommendation to accept Defendant’s plea in this case.
                                    II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the
               findings or recommendations made by the magistrate judge.



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28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge must determine de novo any part of the
             magistrate judge's disposition that has been properly objected
             to. The district judge may accept, reject, or modify the
             recommended disposition; receive further evidence; or return
             the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
April 25, 2016, and ACCEPTS Defendant’s plea of guilty to Count 1 of the
Superseding Indictment.
      IT IS SO ORDERED.
      DATED this 25th day of April, 2016.




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